              Case 22-06655 Doc 32-1 Filed 07/18/22 Entered 07/18/22 09:44:38                                             Desc
Form G-4
                        Statement Accompanying Relief From Stay Page 1 of 1
                                                   REQUIRED STATEMENT
                                         TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY


      All Cases:        Debtor(s)     Pamela R. Estes                                      Case No. 22-06655              Chapter   13
                                             DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
                                             ARGENT SECURITIES INC., ASSET-BACKED PASS-THROUGH
      All Cases:        Moving Creditor      CERTIFICATES, SERIES 2006-W2                                 Date Case Filed 6/14/2022

      Nature of Relief
                                       ◼ Lift Stay        Annul Stay        ◼ Other (describe) Dismissal and Co-Debtor Stay
      Sought:

      Chapter 13:              Date of Confirmation Hearing    08/13/2022           or Date Plan Confirmed

      Chapter 7:                No-Asset Report Filed on
                                No-Asset Report not Filed, Date of Creditors Meeting

      1.          Collateral
                  a. ◼ Home
                  b.  Car        Year, Make, and Model
                  c.  Other (describe)

      2.          Balance Owed as of 07/15/2022          $155,551.34
                  Total of all other Liens against Collateral $0.00

                  In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
      3.
                  amounts and dates of all payments received from the debtor(s) post-petition.

      4.          Estimated Value of Collateral (must be supplied in all cases) $90,000.00, per Debtor's Schedules

      5.          Default
                  a.  Pre-Petition Default as of petition date
                      Number of months                       Amount

                  b.      Post-Petition Default
                         i.      On direct payments to the moving creditor
                                Number of months                   Amount               $0.00

                         ii.           On payments to the Standing Chapter 13 Trustee
                                      Number of months                 Amount

      6.        Other Allegations
                 a. ◼ Lack of Adequate Protection § 362(d)(1)
                      i.        No insurance
                      ii.       Taxes unpaid               Amount           $
                      iii.      Rapidly depreciating asset
                      iv.       Other (describe)

                  b.      No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

                  c.     ◼ Other "Cause" § 362(d)(1)
                         i.      Bad Faith (describe)
                         ii.    ◼ Multiple Filings
                         iii.    Other (describe)

                  d.     Debtor's Statement of Intention regarding the Collateral
                         i.  Reaffirm        ii.  Redeem          iii.  Surrender            iv. ◼ No Statement of Intention Filed

      Date:      July 18, 2022                                                                   /s/ Peter C. Bastianen
      (Rev. 12/21/09)                                                                             Counsel for Movant
